ATTACHMENT A
CHARGES:
COUNT 1

On or about December 8, 2018, in Laclede County, in the Western District of Missouri,
and elsewhere, the defendant, JASON A. HAMANN, knowingly and intentionally possessed,
with the intent to distribute, 500 grams or more of a mixture or substance containing a detectable
amount of methamphetamine, a Schedule II controlled substance, in violation of Title 21, United
States Code, Section 841(a)(1) and (b)(1)(A).
RANGE OF PUNISHMENT:
21 U.S.C. § 841(a)(1) and (b)(1)(A)
NLT: 10 Years Imprisonment
NMT: Life Imprisonment
and/or $10 million fine
NLT 5 Years Supervised Release
Class A Felony
$100 Mandatory Special Assessment

COUNT 2

On or about April 18, 2019, in Greene County, in the Western District of Missouri, and
elsewhere, the defendant, JASON A. HAMANN, knowingly and intentionally possessed, with the
intent to distribute, a mixture or substance containing a detectable amount of methamphetamine, a
Schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)
and (b)(1)(C).
RANGE OF PUNISHMENT:
21 U.S.C. § 841(a)(1) and (b)(1)(C)
NMT 20 Years Imprisonment
and/or $1 million fine
NLT 3 Years Supervised Release

Class C Felony
$100 Mandatory Special Assessment

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